            Case 8:14-cv-00627-PWG Document 3 Filed 04/04/14 Page 1 of 3



              IN THE UNITED DISTRICT COURT BANKRUPTCY COURT
                       FOR THE DISTRICT OF MARYLAND

SOLOMONS ONE, LLC,                                    *
                                                      *
               Plaintiff,                             *     Case No.: 8:14-cv-00627-PWG
                                                      *
v.                                                    *
                                                      *
V. CHARLES DONNELLY, et al.,                          *
                                                      *
                                                      *
               Defendants.                            *
*      *        *     *             *       *         *        *         *       *        *   *   *

    CORRESPONDENCE REGARDING DISTRICT COURT’S REVIEW OF PROPOSED
       STATEMENT OF MATERIAL FACTS NOT IN DISPUTE AND PROPOSED
    CONCLUSIONS OF LAW GRANTING SUMMARY JUDGMENT TO PLAINTIFF ON
                              COUNT 1

       1.      On March 4, 2014, the United States Bankruptcy Court for the District of

Maryland (the “Bankruptcy Court”) entered the Proposed Statement of Material Facts Not in

Dispute and Proposed Conclusions of Law Granting Summary Judgment to Plaintiff on Count 1

(the “Proposed Findings and Conclusions”).1 In its Proposed Findings and Conclusions, the

Bankruptcy Court determined that the transfer by Defendant V. Charles Donnelly (“Donnelly”)

and Deborah A. Steffen (“Steffen”) of certain pier rights of Plaintiff Solomons One, LLC

(“Solomons One”) was unauthorized under the operating agreement of Solomons One. See

Proposed Findings and Conclusions ¶¶ 21, 29. Further, pursuant to Rule 54(b) of the Federal

Rules of Civil Procedure, the Bankruptcy Court certified to this Court only the issue of summary

judgment on Count 1. See Proposed Findings and Conclusions ¶¶ 40-42.

       2.      On March 5, 2014, Donnelly and Steffen filed a Motion for Appropriate Relief2

asking the Bankruptcy Court to approve their “re-assignment of their individual interests under


1
       A copy of the Proposed Findings and Conclusions is attached hereto as Exhibit A.
2
       A copy of the Motion for Appropriate Relief is attached hereto as Exhibit B.

                                                      1
              Case 8:14-cv-00627-PWG Document 3 Filed 04/04/14 Page 2 of 3



the Agreement dated December 4, 2012 to the Debtor, Solomons One, LLC, without any

representations or warranties” and to “[e]nter an Order lifting the automatic stays entered in

Maryland Court of Special Appeals Cases No. 1085 and 1446, September Terms, 2013, and in

the Circuit Court for Calvert County, Maryland Case 04-C-12-001031.” On March 24, 2014,

Solomons One filed its opposition to the Motion for Appropriate Relief.3

         3.        On March 6, 2014, the Bankruptcy Court transmitted certain pleadings and papers

filed in Adversary Proceeding No. 13-00580 to this Court. Docket No. 2 in the above-captioned

case reflects that the Bankruptcy Court transmitted the Motion for Appropriate Relief to this

Court.

         4.        Solomons One files this Correspondence for the purpose of representing that the

Motion for Appropriate Relief is not presently before this Court. The Bankruptcy Court has not

held or even scheduled a hearing on the Motion for Appropriate Relief, nor has it entered an

order thereon. Judge Catliota, in his Proposed Findings and Conclusions, made clear that the

only issue he was transmitting to this Court was the proposed findings and conclusions contained

therein.

         5.        Accordingly, Solomons One respectfully submits that the Motion for Appropriate

Relief is not ripe before this Court and requests that this Court disregards any pleadings or papers

related thereto.

                                  [remainder of page intentionally blank]




3
         A copy of Solomons One’s opposition to the Motion for Appropriate Relief is attached hereto as Exhibit
C.

                                                        2
            Case 8:14-cv-00627-PWG Document 3 Filed 04/04/14 Page 3 of 3



Dated: April 4, 2014                             WHITEFORD, TAYLOR & PRESTON L.L.P.

                                                 /s/ Alan C. Lazerow
                                                 Susan Jaffe Roberts, Bar No. 26827
                                                 Alan C. Lazerow, Bar No. 29756
                                                 Seven Saint Paul Street, Suite 1800
                                                 Baltimore, Maryland 21202-1636
                                                 (410) 347-8700
                                                 (410)752-7092 (facsimile)
                                                 sroberts@wtplaw.com
                                                 alazerow@wtplaw.com

                                                 Counsel for Solomons One, LLC


                                   CERTIFICATE OF SERVICE

          I certify that on this 4th day of April, 2014, a copy of the foregoing was sent to all parties

receiving electronic notices via CM/ECF and by fedex, postage prepaid, to:

                                 V. Charles Donnelly
                                 P.O. Box 1464
                                 14532 Solomons Island Rd.
                                 Solomons, Maryland 20688


                                                                /s/ Alan C. Lazerow
                                                                Alan C. Lazerow




2088464




                                                    3
